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[ENTERED

IN THE UNITED STATES DISTRICT CDPURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

AT BLUEFIELD FEB ~ 4 2004

SHARON FAYE BAKER,
et al., TERESA L. DEPPNER, CLERK

U.S. District & Bankruptcy Courts
Southern District of West Virginia |

Plaintiffs,

Ve CIVIL ACTION NO. 1:01-0553

PURDUB PHARMA, L.P.,
et al.,

Defendants.
ORDER
By Order dated March 31, 2003, the court GRANTED IN PART
plaintiffs’ motion to dismiss this action without prejudice and
ORDERED that plaintiffs would be allowed to dismiss this action
without prejudice, provided they meet the following conditions:

1. The plaintiffs and their counsel agree to the use of
discovered materials in any future proceedings
involving these plaintiffs, or any other claim brought
by current counsel for the plaintiffs on a
substantially similar theory cf liability.

2. The plaintiffs agree to pay a portion of the taxable
costs (not attorneys’ fees} incurred by the defendants
over the course of this action, Specifically,
plaintiffs are to pay those costs associated with work
that cannot be used by defendants in subsequent
litigation.

The court further ordered the plaintiffs to file with the court,
within ten days of entry of the March 31, 2003 Order, a notice
indicating their acceptance or rejection of the conditions laid down
by the court. Finally, the court ordered that

if defendants wish to seek reimbursement of their costs,

they are directed to submit to the court and serve upon the

plaintiffs’ counsel a petition for costs associated with

work that cannot be used in any subsequent proceeding. This

petition is to be filed within ten days of the filing of
plaintiffs’ notice. Plaintiffs will then file with the
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court any objections they may have to the reasonableness of
the claimed costs.

March 31, 2003 Order at 6.

On April 8, 2003, plaintiffs filed a notice of their acceptance
of the conditions for voluntary dismissal. Thereafter, on April 22,
2003, defendants filed their petition for costs in which they sought
reimbursement for court reporter fees and transcript costs totaling
$1,186.95. Plaintiffs filed an objection to the petition for costs
and asked that no costs be awarded to defendants because: 1) their
petition for costs was not timely filed, and 2) the depositions for
which defendants seek reimbursement may be used by defendants in
subsequent litigation.

Under Federal Rule of Civil Procedure 6(fa), it is clear that
plaintiffs’ argument that the petition was not timely filed is without
merit. That rule provides in pertinent part:

In computing any period of time prescribed or allowed by

these rules, by the local rules of any district court, by

order of court, or by any applicable statute, the day of the

act, event, or default from which the designated period of
time begins to run shall not be included. . . . When the
period of time prescribed or allowed is less than 11 days,
intermediate Saturdays, Sundays, and legal holidays shall be
excluded in the computation.
Plaintiffs filed their notice of acceptance on April 8, 2003;
accordingly, that day is not included. Excluding Saturdays and
Sundays between April 9, 2003, and April 22, 2003, it is clear that
defendants’ petition was filed on the tenth day and, therefore, is
timely.
Regarding plaintiffs’ second argument that the depositions for

which costs are sought can be used in subsequent litigation, that
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argument is equally without merit. The record shows that the
depositions in question were taken after plaintiffs filed their motion
to dismiss but before the completion of discovery in the case. If
plaintiffs were to proceed to trial in another case, it is clear that
they would have to be redeposed. Furthermore, the court has reviewed
the depositions in question and finds that they were geared primarily
to issues surrounding plaintiffs’ motion to dismiss and their
suitability as class representatives, therefore, it is unlikely they
could be used in subsequent litigation. Finally, having reviewed the
file in this matter as weil as all the paper filed in the course of
the litigation, it appears to the court that the amount sought by
defendants is not exorbitant, but rather quite modest.

Accordingly, plaintiffs’ objections to defendants’ petition for
costs are overruled. Plaintiffs are ORDERED to pay defendants, within
thirty (30) days of entry of this Order, the sum of $1,186.95, said
sum representing those costs associated with work that cannot be used
by defendants in subsequent litigation. This case 1s DISMISSED
without prejudice and the Clerk is directed to send a copy of this
Order to counsel of record.

It is SQ ORDERED this yok day of February, 2004.

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David A. Faber
Chief Judge

